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                            D STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )              No. 21-cr-123 (PLF)
                                          )
VITALI GOSSJANKOWSKI,                     )
                                          )
            Defendant                     )
__________________________________________)

                                           ORDER

       Upon consideration of the defendant’s Motion for Leave to File Surreply and Reply, and

for good cause shown, it is hereby ORDERED that the motion is GRANTED. The Defense

Surreply Regarding Government’s Motion to Exclude Defense Experts and For a Daubert

Hearing; and Reply in Support of Cross-Motion in Limine to Preclude Discussion of the Vice

President’s “Family” shall be docketed accordingly.



DATE: ___________________



                                           ________________________________
                                           PAUL L. FRIEDMAN
                                           UNITED STATES DISTRICT JUDGE
